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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHNJUAN WHITE, AS ADMINISTRATOR OF     : JURY TRIAL DEMANDED
THE ESTATE OF JIMMY KING, DECEASED      :
                 Plaintiff              : NO.
                                        :
                  v.                    :
                                        :
DAUPHIN COUNTY                          :
      and                               :
PRIMECARE MEDICAL, INC.                 :
      and                               :
WARDEN GREGORY BRIGGS                   :
      and                               :
CEO THOMAS WEBER, ESQ.                  :
      and                               :
CORPORATE MEDICAL DIRECTOR              :
DR. CARL HOFFMAN                        :
      and                               :
PRISON STAFF MCCLERG, VENTURA, PECHO, :
AND JOHN/JANE DOE 1 – 10                :
      and                               :
MEDICAL PROVIDERS TYKEISHA METZ,        :
KATELIN WRIGHT, JOSEPH MACUT, JESSICA   :
NYE, TIFFANY LONG, ADDONNA THOMAS,      :
SHAYNE GOODMAN, TIFFANY LONG, KAYLA     :
ZELDERS-HEICHEL, ADAM BOERMAN, WILLIAM :
YOUNG, GARRETT ROSAS, ANGELA BARNETT, :
CHEREE SULTZBACH, JOHANNA RIEDEL,       :
JESSICA GLASPER, SHARON CHRISTIE,       :
MELISSA BARBOSA, MILDRED MONTALVO,      :
DOUGLAS EASH, SUSAN DELOE, TIA DRABICH, :
STEPHANIE DIETZ, TRACY P., KATIE S.,    :
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GINA F., AND JOHN/JANE DOE 1 – 10                    :
                   Defendants                        :

                                         COMPLAINT




I.     INTRODUCTION

       1.       Plaintiff brings the action for damages pursuant to 42 U.S.C. § 1983 and the

                Due Process Clause of the Fourteenth Amendment of the United States

                Constitution, as well as the statutory and common laws of the

                Commonwealth of Pennsylvania, as the result of the death of his uncle,

                Jimmy King, while incarcerated at Dauphin County Prison.

II.    JURISDICTION AND VENUE

       2.       The court has jurisdiction over the Federal Law Claims pursuant to 28 U.S.C.

                §§1331 and 1343 and jurisdiction over the State Law Claims pursuant to 28 U.S.C.

                § 1367 and the principles of pendant and ancillary jurisdiction.

       3.       Venue is proper under 28 U.S.C. §1391(b) because the cause of action upon which

                the complaint is based arose in Dauphin County, Pennsylvania, which is in the

                Middle District of Pennsylvania.


III.   PARTIES


       4.       Plaintiff, JohnJuan White, is an adult citizen and resident of the State of

                Maryland and was at all relevant times the nephew of the decedent, Jimmy

                King, and the administrator of his estate.

       5.       At all relevant times, decedent Jimmy King was a pretrial detainee at Dauphin

                County Prison.
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6.       Defendant, Dauphin County, is an entity or political subdivision organized and

         existing under the laws of the Commonwealth of Pennsylvania, which at all

         relevant times owned, operated, managed, maintained, and was otherwise

         responsible for the inmates at Dauphin County Prison.

7.       At all relevant times, Defendant Dauphin County acted or failed to act through

         its employees, agents, servants, and/or contractors, then and there acting in the

         course and scope of their employment, agency, servanthood, and/or contract,

         including but not limited to the individually named defendants.

8.       At all relevant times, Defendant Dauphin County was charged with housing,

         supervising, and caring for the inmates housed at Dauphin County Prison, and

         they delegated their constitutional duty of providing said inmates medical care

         to Defendant PrimeCare Medical, Inc.

9.       Defendant, PrimeCare Medical, Inc., is a business entity organized under the

         laws of the Commonwealth of Pennsylvania, with a principal place of business

         located in Harrisburg, Pennsylvania.

10.      At all relevant times, PrimeCare Medical, Inc., acted or failed to act through its

         employees, agents, servants, and/or contractors, then and there acting in the

         course and scope of their employment, agency, servanthood, and/or contract,

         including but not limited to the individually named defendants.

11.      At all relevant times, Defendants Dauphin County and PrimeCare Medical, Inc.,

         were performing a traditional governmental function under color of state law

         and were therefore state actors.

12.      At all relevant times, Defendants Dauphin County and PrimeCare Medical, Inc.,

         were responsible for testing, hiring, training, supervising, and disciplining
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      individuals staffing Dauphin County Prison, including, but not limited to, the

      named individual defendants.

13.   Defendant, Warden Gregory Briggs, is an adult individual and resident of the

      Commonwealth of Pennsylvania, who, at all relevant times, was employed by

      Defendant Dauphin County, was acting under color of state law, was the final

      policymaker for Dauphin County Prison, and is being sued in his individual and

      official capacities.

14.   Defendants, CEO Thomas Weber, Esq., and Corporate Medical Director Dr. Carl

      Hoffman, are adult individuals and residents of the Commonwealth of

      Pennsylvania, who, at all relevant times, were employed by Defendant

      PrimeCare Medical, Inc., were acting under color of state law, were the final

      policymakers for Defendant PrimeCare Medical, Inc., and are being sued in

      their individual and official capacities.

15.   Defendants, Prison Staff McClerg, Ventura, Pecho, and John/Jane Doe 1 – 10 (so

      designated by fictitious name because Plaintiff, despite the exercise of

      reasonable diligence, was unable to learn their identities), are adult individuals

      and residents of the Commonwealth of Pennsylvania, who, at all relevant times,

      were employed as corrections officers by Defendant Dauphin County.

16.   At all relevant times, Defendants Prison Staff McClerg, Ventura, Pecho, and

      John/Jane Doe 1 – 10, were acting within the course and scope of their

      employment, under the color of state law, and pursuant to the customs, policies,

      and practices of Defendant Dauphin County and/or Defendant PrimeCare

      Medical, Inc. They are being sued in their individual and official capacities.

17.   Defendants, Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut,

      Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long,
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             Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela

             Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie,

             Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

             Stephanie Dietz, Tracy P., Katie S., Gina F., and John/Jane Doe 1 – 10 (so

             designated by fictitious name because Plaintiff, despite the exercise of

             reasonable diligence, was unable to learn their identities), are adult individuals

             and residents of the Commonwealth of Pennsylvania, who, at all relevant times,

             were employed as medical providers for Dauphin County Prison by Defendant

             Dauphin County and/or PrimeCare Medical, Inc.

       18.   At all relevant times, Defendants Medical Providers Tykeisha Metz, Katelin

             Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

             Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

             Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

             Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

             Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and

             John/Jane Doe 1 – 10 were acting within the course and scope of their

             employment, under the color of state law, and pursuant to the customs, policies,

             and practices of Defendant Dauphin County and/or Defendant PrimeCare

             Medical, Inc. They are being sued in their individual and official capacities.

III.   OPERATIVE FACTS

       19.   On or about August 7, 2020, Decedent was arrested on charges of retail theft,

             reckless driving, and related offenses.

       20.   Bail was set at a total of $10,000, which he was unable to post, and Decedent

             was taken to Dauphin County Prison, where he was incarcerated as a pretrial

             detainee.
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21.   On or about August 9, 2020, Decedent was struck in the head and torso by his

      cellmate, another inmate, and/or Defendants Prison Staff McClerg, Ventura,

      Pecho, and/or John/Jane Doe 1 – 10.

22.   Decedent was seen by prison medical staff, who noted a gash above his right eye

      and bruised or broken ribs.

23.   Defendants Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut,

      Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long,

      Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela

      Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie,

      Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

      Stephanie Dietz, Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10 failed

      to appropriately examine Decedent to rule out traumatic brain injury.

24.   Decedent was sent back to the same cell with the same cellmate.

25.   On or about August 12, 2020, Decedent informed Defendants that he was still

      having headaches, and Defendants Medical Providers Tykeisha Metz, Katelin

      Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

      Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

      Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

      Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

      Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and

      John/Jane Doe 1 – 10 failed to appropriately examine Decedent and/or provide

      adequate diagnostic testing to rule out traumatic brain injury.

26.   On or about August 14, 2020, Decedent was again attacked and struck in the

      head with a tablet and/or hard object by his cellmate, another inmate, and/or

      Defendants Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10.
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27.   Decedent received no medical treatment following the August 14, 2020, assault,

      until, on or about August 19, 2020, he presented to prison medical staff

      complaining of severe headaches, chest pain, difficulty breathing, difficulty

      sleeping, and chest pain.

28.   Defendants Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut,

      Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long,

      Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela

      Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie,

      Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

      Stephanie Dietz, Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10, again,

      despite his worsening symptoms and repeated head injuries, failed to

      appropriately examine Decedent and/or provide adequate and proper diagnostic

      testing to rule out traumatic brain injury.

29.   On or about August 20, 2020, Decedent again presented to prison medical staff

      with severe headaches and Defendants Medical Providers Tykeisha Metz,

      Katelin Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas,

      Shayne Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman,

      William Young, Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna

      Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo,

      Douglas Eash, Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S.,

      Gina F., and/or John/Jane Doe 1 – 10 offered no treatment.

30.   Throughout, Decedent consistently had elevated blood pressure.

31.   Then, at approximately 3:00 a.m. on August 21, 2020, Decedent was found face

      down in his cell in a pool of vomit, unresponsive, and was rushed to Milton S.

      Hershey Medical Center.
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     32.   At Hershey Medical Center, Decedent was intubated and given a CT scan,

           which revealed a subdural hematoma. Doctors at Hershey Medical Center

           shortly thereafter established that Decedent had no brain activity.

     33.   On or about August 29, 2020, after his condition slowly worsened, Mr. King

           died.

     34.   The Dauphin County Coroner’s Office conducted an autopsy that found:

           a. Manner of death was homicide; and

           b. Cause of death was complications of traumatic brain injury.

     35.   If Defendants had not been deliberately indifferent to the risk of harm against

           Decedent, his cellmate, another inmate, and/or prison staff would have been

           prevented from assaulting him and/or assaulting him a second time.

     36.   Decedent was confined to the prison without adequate surveillance, supervision,

           or protection, resulting in his being assaulted, or was assaulted by prison staff.

     37.   As a result of Defendants’ actual knowledge of the risk of harm to Decedent and

           their failure to take action, it was a foreseeable consequence that Decedent

           would be assaulted by his cellmate, another inmate, and/or prison staff, which

           constituted an immediate threat to his safety and well-being.

     38.   As a direct and proximate result of the above deliberate indifference, wrongful

           acts, and omissions of Defendants, Decedent suffered emotional pain, physical

           suffering, and death.

                         COUNT I – 42 U.S.C. § 1983
       SUBSTANTIVE DUE PROCESS—FAILURE TO PROTECT FROM ATTACK
JOHNJUAN WHITE V. WARDEN GREGORY BRIGGS AND PRISON STAFF MCCLERG, VENTURA,
                      PECHO, AND JOHN/JANE DOE 1 – 10

     39.   All of the preceding paragraphs are incorporated by reference as if fully set forth

           herein.
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40.   Defendants Warden Gregory Briggs and Prison Staff McClerg, Ventura, Pecho,

      and John/Jane Doe 1 – 10 were, at all relevant times, responsible for providing

      Decedent a safe prison environment.

41.   Defendants Warden Gregory Briggs and Prison Staff McClerg, Ventura, Pecho,

      and John/Jane Doe 1 – 10 knew that there was a substantial risk of harm to

      Decedent but failed to take reasonable measures to protect him, such as moving

      Decedent out of his housing unit, changing which inmate(s) he shared a cell

      with, or otherwise responding to the risk of harm to Decedent after an initial

      assault.

42.   Defendants Warden Gregory Briggs and Prison Staff McClerg, Ventura, Pecho,

      and John/Jane Doe 1 – 10 were deliberately indifferent to Decedent’s

      constitutional rights and their acts and failures to act were malicious, shocking

      to the conscience, and done with willful and/or reckless disregard for Decedent’s

      safety.

43.   Decedent would not have been injured but for the deliberate indifference of

      Defendants Warden Gregory Briggs and Prison Staff McClerg, Ventura, Pecho,

      and John/Jane Doe 1 – 10.

44.   Decedent’s injuries were a direct, proximate, and foreseeable consequence of

      Defendants’ Warden Gregory Briggs and Prison Staff McClerg, Ventura, Pecho,

      and John/Jane Doe 1 – 10 failure to take reasonable measures to prevent said

      harm and/or have or enforce effective and appropriate housing, classification,

      custody, separation, and security policies.

45.   All of these actions and failures to act violated Decedent’s rights under the Due

      Process Clause of the Fourteenth Amendment of the Constitution of the United
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               States, the laws of the United States and of the Commonwealth of

               Pennsylvania, and were in violation of 42 U.S.C. § 1983.

       46.     The above-described acts and failures to act of Defendants Warden Gregory

               Briggs and Prison Staff McClerg, Ventura, Pecho, and John/Jane Doe 1 – 10

               were so malicious, intentional, and reckless and displayed such a reckless

               indifference to Plaintiff's rights and well-being that the imposition of punitive

               damages is warranted.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory and

punitive damages against Defendants Warden Gregory Briggs and Prison Staff McClerg,

Ventura, Pecho, and John/Jane Doe 1 – 10, jointly and/or severally, in an amount sufficient

to fully and adequately compensate Plaintiff and punish and deter the defendants and those

similarly situated, plus interest, costs, attorney’s fees, and all other appropriate relief.

                         COUNT II – 42 U.S.C. § 1983
     SUBSTANTIVE DUE PROCESS—EXCESSIVE FORCE ON PRETRIAL DETAINEE
JOHNJUAN WHITE V. PRISON STAFF MCCLERG, VENTURA, PECHO, AND JOHN/JANE DOE
                                   1 – 10

       47.     All preceding paragraphs are fully incorporated herein by reference.

       48.     Defendants Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 –

               10’s use of force against Decedent on August 9, 2020, and/or August 14, 2020,

               were unreasonable given the circumstances.

       49.     Upon information and belief, Decedent was not behaving in a manner that

               would render striking him in the head and ribs hard enough to cause a subdural

               hematoma and eventual death a reasonable course of action.

       50.     Regardless, Defendants Prison Staff McClerg, Ventura, Pecho, and/or John/Jane

               Doe 1 – 10 struck him in the head on one or both occasions, causing serious

               injury and death.
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       51.     All of these actions and failures to act violated Decedent’s rights under the Due

               Process Clause of the Fourteenth Amendment of the Constitution of the United

               States, the laws of the United States and of the Commonwealth of

               Pennsylvania, and were in violation of 42 U.S.C. § 1983.

       52.     The above-described acts and failures to act of Defendants Prison Staff McClerg,

               Ventura, Pecho, and/or John/Jane Doe 1 – 10 were so malicious, intentional, and

               reckless and displayed such a reckless indifference to Plaintiff's rights and well-

               being that the imposition of punitive damages is warranted.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory and

punitive damages against Defendants Prison Staff McClerg, Ventura, Pecho, and John/Jane

Doe 1 – 10, in an amount sufficient to fully and adequately compensate Plaintiff and punish

and deter the defendant and those similarly situated, plus interest, costs, attorney’s fees, and

all other appropriate relief.

                         COUNT III – 42 U.S.C. § 1983
                           FAILURE TO INTERVENE
JOHNJUAN WHITE V. PRISON STAFF MCCLERG, VENTURA, PECHO, AND JOHN/JANE DOE
                                    1 – 10

       53.     All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       54.     Defendants Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10

               had a constitutional and/or statutory duty to intervene when Decedent was

               unlawfully assaulted and battered and subjected to unreasonable force.

       55.     Defendants Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10

               knew that Decedent’s rights were being violated and despite said knowledge

               failed to intervene and stop the unlawful conduct of assault and battery and use

               of unreasonable force.
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       56.     Defendants Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10

               had a reasonable opportunity to intervene to prevent and/or limit the

               aforementioned unlawful conduct inflicted upon Decedent but remained

               deliberately indifferent and failed to do so.

       57.     As a direct and proximate result of the above malicious, intentional, and/or

               reckless acts and failures to act of Defendants Prison Staff McClerg, Ventura,

               Pecho, and/or John/Jane Doe 1 – 10, Decedent suffered the injuries and

               deprivations of rights described above.

       58.     The above-described acts and failures to act of Defendants Prison Staff McClerg,

               Ventura, Pecho, and/or John/Jane Doe 1 – 10, in their individual capacities,

               were so malicious, intentional, and reckless and displayed such reckless

               indifference to Plaintiff’s rights and well-being that the imposition of punitive

               damages is warranted.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory and

punitive damages against Defendants Prison Staff McClerg, Ventura, Pecho, and John/Jane

Doe 1 – 10, jointly and/or severally, in an amount sufficient to fully and adequately

compensate Plaintiff and deter the defendants and those similarly situated, plus interest,

costs, attorney’s fees, and all other appropriate relief.

                              COUNT IV – 42 U.S.C. § 1983
             SUBSTANTIVE DUE PROCESS—DENIAL OF ADEQUATE MEDICAL CARE
               JOHNJUAN WHITE V. ALL INDIVIDUALLY NAMED DEFENDANTS

       59.     All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       60.     Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

               Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and
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      John/Jane Doe 1 – 10; and Medical Providers Tykeisha Metz, Katelin Wright,

      Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman,

      Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett

      Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper,

      Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan

      Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., Tracy P., Katie

      S., Gina F., and/or John/Jane Doe 1 – 10 had a constitutional and/or statutory

      duty to provide Decedent necessary medical care.

61.   Decedent had a serious medical need, to wit, traumatic brain injury.

62.   Decedent’s medical need was serious as evidenced by his death following lack of

      treatment.

63.   Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

      Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and

      John/Jane Doe 1 – 10; and Medical Providers Tykeisha Metz, Katelin Wright,

      Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman,

      Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett

      Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper,

      Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan

      Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., Tracy P., Katie

      S., Gina F., and/or John/Jane Doe 1 – 10 were aware of Decedent’s serious

      medical need because he had been struck twice in the head on two occasions,

      and following these assaults he reported headaches, difficulty sleeping, difficulty

      breathing, and chest pain, and he had an elevated blood pressure when checked

      by medical providers.
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64.   Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

      Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and

      John/Jane Doe 1 – 10; and Medical Providers Tykeisha Metz, Katelin Wright,

      Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman,

      Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett

      Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper,

      Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan

      Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., Tracy P., Katie

      S., Gina F., and/or John/Jane Doe 1 – 10 remained deliberately indifferent to

      Decedent’s serious medical need by failing to do proper testing to diagnose his

      traumatic brain injury and prescribing inappropriate treatment—an x-ray, Tylenol,

      and blood pressure medication—for his condition.

65.   The above-described acts and failures to act of Defendants Warden Gregory

      Briggs, CEO Thomas Weber, Esq., Corporate Medical Director Dr. Carl

      Hoffman; Prison Staff McClerg, Ventura, Pecho, and John/Jane Doe 1 – 10; and

      Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica Nye,

      Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla Zelders-

      Heichel, Adam Boerman, William Young, Garrett Rosas, Angela Barnett,

      Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa

      Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie

      Dietz, Tracy P., Katie S., Gina F., Tracy P., Katie S., Gina F., and/or John/Jane

      Doe 1 – 10, in their individual capacities, were so malicious, intentional, and

      reckless and displayed such reckless indifference to Plaintiff’s rights and well-

      being that the imposition of punitive damages is warranted.
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WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory and

punitive damages against Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq.,

Corporate Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and

John/Jane Doe 1 – 10; and Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut,

Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla

Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela Barnett, Cheree

Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa, Mildred

Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S.,

Gina F., and John/Jane Doe 1 – 10, jointly and/or severally, in an amount sufficient to fully

and adequately compensate Plaintiff and deter the defendants and those similarly situated,

plus interest, costs, attorney’s fees, and all other appropriate relief.

                            COUNT V – 42 U.S.C. § 1983
                       MONELL CLAIM—EXCESSIVE FORCE
         JOHNJUAN WHITE V. DAUPHIN COUNTY AND WARDEN GREGORY BRIGGS

       66.     All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       67.     At all relevant times, Defendants Dauphin County and Warden Gregory Briggs

               had for many years adopted and maintained a policy, custom, and/or practice of

               condoning and/or acquiescing to the violation of the constitutional rights of

               citizens, including, but not limited to, permitting the unlawful assault and

               battery of and use of excessive force against pretrial detainees by prison staff

               and remaining deliberately indifferent to the safety of pretrial detainees, which

               policy, custom, and/or practice violates the Due Process Clause of the

               Fourteenth Amendment of the Constitution of the United States, the laws of the
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      United States and of the Commonwealth of Pennsylvania, and in violation of 42

      U.S.C. § 1983.

68.   Defendants Dauphin County and Warden Gregory Briggs had for many years

      and at all relevant times adopted and maintained a recognized and accepted

      policy, custom, and/or practice of systematically failing to adequately test, hire,

      train, supervise, and discipline prison staff, including but not limited to the

      individually named defendants, regarding appropriate procedures for use of force

      against pretrial detainees and/or protection of inmates from assaults, which

      policy, custom, and/or practice violates the Due Process Clause of the

      Fourteenth Amendment of the Constitution of the United States, the laws of the

      United States and of the Commonwealth of Pennsylvania, and in violation of 42

      U.S.C. § 1983.

69.   Defendants Dauphin County and Warden Gregory Briggs have been deliberately

      indifferent to the rights of citizens to be free from excessive force and cruel and

      unusual punishment, as well as to be protected from assaults, which deliberate

      indifference violated Plaintiff’s rights under the Due Process Clause of the

      Fourteenth Amendment of the Constitution of the United States, the laws of the

      United States and of the Commonwealth of Pennsylvania, and in violation of 42

      U.S.C. § 1983.

70.   Defendants Dauphin County and Warden Gregory Briggs have knowingly

      adopted and maintained for many years recognized and accepted customs,

      policies, and/or practices within Dauphin County Prison that increase the risk of

      danger to inmates such as Decedent and that ultimately resulted in Decedent’s

      above-described injuries, including but not limited to:
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      a. Failing to have and/or enforce appropriate use of force procedures, policies,

         and training to prevent prison staff from assaulting, battering, and

         otherwise using excessive force against inmates;

      b. Failing to have and/or enforce appropriate security classification/custody

         procedures, policies, and training to respond to information regarding

         unconstitutional uses of force by prison staff and/or assaults by inmates

         upon inmates;

      c. Failing to have and/or enforce adequate testing, hiring, training,

         supervision, and discipline to ensure prison staff act to prevent and/or

         intervene in prison staff assaults and/or inmate-on-inmate assaults, as well

         as uses of excessive force against inmates.

71.   Defendants Dauphin County and Warden Gregory Briggs have been aware of

      the aforementioned customs, policies, and/or practices for a substantial period of

      time and, despite said knowledge, were deliberately indifferent of the

      constitutional rights of citizens by failing to:

      a. Take steps to terminate them;

      b. Discipline or otherwise properly supervise the defendant prison staff who

         engaged in them;

      c. Sanctioned them instead of effectively training the defendant prison staff

         with regard to the proper constitutional and statutory limits to the exercise

         of their authority, as well as their duty to protect inmates in their custody.

72.   Defendants Dauphin County and Warden Gregory Briggs effectively condoned,

      acquiesced to, participated in, and perpetrated the aforementioned customs,

      policies, and/or practices, in violation of Plaintiff’s rights under the Due Process

      Clause of the Fourteenth Amendment of the Constitution of the United States,
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      the laws of the United States and of the Commonwealth of Pennsylvania, and in

      violation of 42 U.S.C. § 1983, by failing to take action to stop or limit to the

      aforementioned customs, policies, and/or practices, and/or by remaining

      deliberately indifferent to the systematic abuses and failure to protect inmates

      which occurred in accordance with and as a direct and proximate result of the

      same.

73.   These customs, policies, and/or practices are shown by the numerous accounts of

      inmates of Dauphin County Prison suffering uses of excessive force, including but

      not limited to:

      a. In 2007, the Dauphin County District Attorney was called upon to investigate

         approximately twenty (20) allegations of excessive force against inmates of

         Dauphin County Prison. Associated Press, “Authorities Investigate Inmates’

         Abuse Claims in Dauphin County”, June 4, 2007, available at

         https://archive.triblive.com/news/authorities-investigate-inmates-abuse-claims-

         in-dauphin-county/.

      b. The complaint of Riley, et al., v. Clark, et al., 4:20-cv-00325 (M.D. Pa.), in

         which Plaintiffs allege defendant prison staff used excessive force in repeatedly

         beating a pretrial detainee about the head and body, ultimately causing his

         death, on June 18 – 26, 2019.

      c. Several more allegations of excessive force used against inmates were

         discovered by journalists in 2018 and 2019. Hall, Mark, “Others Claim

         Beatings at Dauphin County Prison”, ABC27 WHTM, July 30, 2019, available

         at https://www.abc27.com/local-news/harrisburg/others-claim-beatings-at-

         dauphin-county-prison/.
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       74.     As a direct and proximate result of the malicious, intentional, and reckless

               actions and failures to act of Defendants Dauphin County and Warden Gregory

               Briggs, Decedent suffered the injuries described above.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory

damages against Defendants Dauphin County and Warden Gregory Briggs, jointly and/or

severally, in an amount sufficient to fully and adequately compensate Plaintiff, plus interest,

costs, attorney’s fees, and all other appropriate relief.

                         COUNT VI – 42 U.S.C. § 1983
                  MONELL CLAIM—DENIAL OF MEDICAL CARE
JOHNJUAN WHITE V. DAUPHIN COUNTY, PRIMECARE MEDICAL, INC., WARDEN GREGORY
 BRIGGS, CEO THOMAS WEBER, ESQ., AND CORPORATE MEDICAL DIRECTOR DR. CARL
                                 HOFFMAN

       75.     All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       76.     At all relevant times, Defendants Dauphin County, PrimeCare Medical, Inc.,

               Warden Gregory Briggs, CEO Thomas Weber, Esq., and/or Corporate Medical

               Director Dr. Carl Hoffman had for many years adopted and maintained a policy,

               custom, and/or practice of condoning and/or acquiescing to the violation of the

               constitutional rights of citizens, including, but not limited to, denying medical

               care to pretrial detainees and remaining deliberately indifferent to the serious

               medical needs of pretrial detainees, which policy, custom, and/or practice

               violates the Due Process Clause of the Fourteenth Amendment of the

               Constitution of the United States, the laws of the United States and of the

               Commonwealth of Pennsylvania, and in violation of 42 U.S.C. § 1983.

       77.     Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory Briggs,

               CEO Thomas Weber, Esq., and/or Corporate Medical Director Dr. Carl Hoffman

               had for many years and at all relevant times adopted and maintained a recognized
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      and accepted policy, custom, and/or practice of systematically failing to adequately

      test, hire, train, supervise, and discipline prison staff and/or medical providers,

      including but not limited to the individually named defendants, regarding

      appropriate procedures for providing medical care and adequate diagnostic testing

      to pretrial detainees, which policy, custom, and/or practice violates the Due

      Process Clause of the Fourteenth Amendment of the Constitution of the United

      States, the laws of the United States and of the Commonwealth of

      Pennsylvania, and in violation of 42 U.S.C. § 1983.

78.   Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory Briggs,

      CEO Thomas Weber, Esq., and/or Corporate Medical Director Dr. Carl Hoffman

      have been deliberately indifferent to the rights of citizens to receive necessary and

      proper medical care of their serious medical needs while imprisoned, which

      deliberate indifference violated Plaintiff’s rights under the Due Process Clause of

      the Fourteenth Amendment of the Constitution of the United States, the laws of

      the United States and of the Commonwealth of Pennsylvania, and in violation of

      42 U.S.C. § 1983.

79.   Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory Briggs,

      CEO Thomas Weber, Esq., and/or Corporate Medical Director Dr. Carl Hoffman

      have knowingly adopted and maintained for many years recognized and

      accepted customs, policies, and/or practices within Dauphin County Prison that

      increased the risk of danger to inmates such as Decedent and that ultimately

      resulted in Decedent’s above-described injuries and ultimate death, including

      but not limited to:
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      a. Failing to have and/or enforce appropriate medical care procedures, policies,

         and training to prevent prison staff and medical providers from denying

         inmates necessary medical care and/or diagnostic testing;

      b. Failing to have and/or enforce appropriate procedures, policies, and training

         to respond to information regarding medical needs of inmates;

      c. Failing to have and/or enforce adequate testing, hiring, training,

         supervision, and discipline to ensure prison staff act to prevent and/or

         intervene in prison staff and medical providers denying adequate care to

         inmates.

80.   Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory Briggs,

      CEO Thomas Weber, Esq., and/or Corporate Medical Director Dr. Carl Hoffman

      have been aware of the aforementioned customs, policies, and/or practices for a

      substantial period of time and, despite said knowledge, were deliberately

      indifferent of the constitutional rights of citizens by failing to:

      a. Take steps to terminate them;

      b. Discipline or otherwise properly supervise the defendant prison staff and/or

         medical providers who engaged in them;

      c. Sanctioned them instead of effectively training the defendant prison staff

         and/or medical providers with regard to the proper constitutional and

         statutory duties regarding medical care owed to inmates in their custody and

         care.

81.   Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory Briggs,

      CEO Thomas Weber, Esq., and/or Corporate Medical Director Dr. Carl Hoffman

      effectively condoned, acquiesced to, participated in, and perpetrated the

      aforementioned customs, policies, and/or practices, in violation of Decedent’s
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      rights under the Due Process Clause of the Fourteenth Amendment of the

      Constitution of the United States, the laws of the United States and of the

      Commonwealth of Pennsylvania, and in violation of 42 U.S.C. § 1983, by failing to

      take action to stop or limit to the aforementioned customs, policies, and/or

      practices, and/or by remaining deliberately indifferent to the systematic abuses

      which occurred in accordance with and as a direct and proximate result of the

      same.

82.   These customs, policies, and/or practices are shown by the numerous accounts of

      inmates of Dauphin County Prison suffering denial of medical care, including but

      not limited to:

      a. Between 2009 and January of 2022, at least twenty-six (26) inmates died in

         Dauphin County Prison custody, including the highest rate of inmate deaths in

         all of Pennsylvania in 2019, prompting Defendant Dauphin County to hire an

         expert to audit Dauphin County Prison in 2021. Vendel, Christine, “Man Died

         in Dauphin County Prison, Marking the 5th Death in 10 Months”, PennLive,

         January 31, 2022, available at https://www.pennlive.com/news/2022/01/man-

         dies-in-dauphin-county-prison-marking-the-5th-death-in-10-months.html;

      b. The complaint of Riley, et al., v. Clark, et al., 4:20-cv-00325 (M.D. Pa.), in

         which Plaintiffs allege defendant prison staff used excessive force in repeatedly

         beating a pretrial detainee about the head and body and then offered no

         medical treatment for his injuries, ultimately causing his death, on June 18 –

         26, 2019.

83.   As a direct and proximate result of the malicious, intentional, and reckless

      actions and failures to act of Defendants Dauphin County, PrimeCare Medical,

      Inc., Warden Gregory Briggs, CEO Thomas Weber, Esq., and/or Corporate
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               Medical Director Dr. Carl Hoffman, Decedent suffered the injuries described

               above.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory

damages against Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory

Briggs, CEO Thomas Weber, Esq., and Corporate Medical Director Dr. Carl Hoffman,

jointly and/or severally, in an amount sufficient to fully and adequately compensate Plaintiff,

plus interest, costs, attorney’s fees, and all other appropriate relief.

                         COUNT VII – 42 U.S.C. § 1983
                 SUPERVISORY LIABILITY—EXCESSIVE FORCE
    JOHNJUAN WHITE V. WARDEN GREGORY BRIGGS, AND PRISON STAFF MCCLERG,
                 VENTURA, PECHO, AND JOHN/JANE DOE 1 – 10

       84.     All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       85.     At all relevant times, Defendants Warden Gregory Briggs, and/or Prison Staff

               McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10 had for many years

               adopted and maintained a policy, custom, and/or practice of condoning and/or

               acquiescing to the violation of the constitutional rights of citizens, including, but

               not limited to, permitting the unlawful assault and battery of and use of

               excessive force against pretrial detainees by prison staff and remaining

               deliberately indifferent to the safety of pretrial detainees, which policy, custom,

               and/or practice violates the Due Process Clause of the Fourteenth Amendment

               of the Constitution of the United States, the laws of the United States and of the

               Commonwealth of Pennsylvania, and in violation of 42 U.S.C. § 1983.

       86.     Defendants Warden Gregory Briggs, and/or Prison Staff McClerg, Ventura,

               Pecho, and/or John/Jane Doe 1 – 10 had for many years and at all relevant times

               adopted and maintained a recognized and accepted policy, custom, and/or practice
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      of systematically failing to adequately test, hire, train, supervise, and discipline

      prison staff, including but not limited to the individually named defendants,

      regarding appropriate procedures for use of force against pretrial detainees and/or

      duty to protect inmates, which policy, custom, and/or practice violates the Due

      Process Clause of the Fourteenth Amendment of the Constitution of the United

      States, the laws of the United States and of the Commonwealth of

      Pennsylvania, and in violation of 42 U.S.C. § 1983.

87.   Defendants Warden Gregory Briggs, and/or Prison Staff McClerg, Ventura,

      Pecho, and/or John/Jane Doe 1 – 10 have been deliberately indifferent to the

      rights of citizens to be free from excessive force and/or cruel and unusual

      punishment, which deliberate indifference violated Plaintiff’s rights under the Due

      Process Clause of the Fourteenth Amendment of the Constitution of the United

      States, the laws of the United States and of the Commonwealth of Pennsylvania,

      and in violation of 42 U.S.C. § 1983.

88.   Defendants Warden Gregory Briggs, and/or Prison Staff McClerg, Ventura,

      Pecho, and/or John/Jane Doe 1 – 10 have knowingly adopted and maintained for

      many years recognized and accepted customs, policies, and/or practices within

      Dauphin County Prison that increase the risk of danger to inmates such as

      Decedent and that ultimately resulted in Decedent’s above-described injuries

      and ultimate death, including but not limited to:

      a. Failing to have and/or enforce appropriate use of force procedures, policies,

         and training to prevent prison staff from assaulting, battering, and

         otherwise using excessive force against inmates;
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      b. Failing to have and/or enforce appropriate security classification/custody

         procedures, policies, and training to respond to information regarding

         unconstitutional uses of force by prison staff;

      c. Failing to have and/or enforce adequate testing, hiring, training,

         supervision, and discipline to ensure prison staff act to prevent and/or

         intervene in prison staff assaults and uses of excessive force against

         inmates.

89.   Defendants Warden Gregory Briggs, and/or Prison Staff McClerg, Ventura,

      Pecho, and/or John/Jane Doe 1 – 10 have been aware of the aforementioned

      customs, policies, and/or practices for a substantial period of time and, despite

      said knowledge, were deliberately indifferent of the constitutional rights of

      citizens by failing to:

      a. Take steps to terminate them;

      b. Discipline or otherwise properly supervise the defendant prison staff who

         engaged in them;

      c. Sanctioned them instead of effectively training the defendant prison staff

         with regard to the proper constitutional and statutory limits to the exercise

         of their authority.

90.   Defendants Warden Gregory Briggs, and/or Prison Staff McClerg, Ventura,

      Pecho, and/or John/Jane Doe 1 – 10 effectively condoned, acquiesced to,

      participated in, and perpetrated the aforementioned customs, policies, and/or

      practices, in violation of Plaintiff’s rights under the Due Process Clause of the

      Fourteenth Amendment of the Constitution of the United States, the laws of the

      United States and of the Commonwealth of Pennsylvania, and in violation of 42

      U.S.C. § 1983, by failing to take action to stop or limit to the aforementioned
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      customs, policies, and/or practices, and/or by remaining deliberately indifferent

      to the systematic abuses which occurred in accordance with and as a direct and

      proximate result of the same.

91.   These customs, policies, and/or practices are shown by the numerous accounts of

      inmates of Dauphin County Prison suffering uses of excessive force, including but

      not limited to:

      a. In 2007, the Dauphin County District Attorney was called upon to investigate

         approximately twenty (20) allegations of excessive force against inmates of

         Dauphin County Prison. Associated Press, “Authorities Investigate Inmates’

         Abuse Claims in Dauphin County”, June 4, 2007, available at

         https://archive.triblive.com/news/authorities-investigate-inmates-abuse-claims-

         in-dauphin-county/.

      b. The complaint of Riley, et al., v. Clark, et al., 4:20-cv-00325 (M.D. Pa.), in

         which Plaintiffs allege defendant prison staff used excessive force in repeatedly

         beating a pretrial detainee about the head and body, ultimately causing his

         death, on June 18 – 26, 2019.

      c. Several more allegations of excessive force used against inmates were

         discovered by journalists in 2018 and 2019. Hall, Mark, “Others Claim

         Beatings at Dauphin County Prison”, ABC27 WHTM, July 30, 2019, available

         at https://www.abc27.com/local-news/harrisburg/others-claim-beatings-at-

         dauphin-county-prison/.

92.   At all relevant times, in addition and/or in the alternative to the above,

      Defendants Warden Gregory Briggs, and/or Prison Staff McClerg, Ventura,

      Pecho, and/or John/Jane Doe 1 – 10, directed and/or knew of and acquiesced to

      the deprivations of Decedent’s rights described above.
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       93.     As a direct and proximate result of the malicious, intentional, and reckless

               actions and failures to act of Defendants Warden Gregory Briggs, and/or Prison

               Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10, Decedent suffered

               the injuries described above.

       94.     The above-described acts and failures to act of Defendants Warden Gregory

               Briggs, and/or Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 –

               10, were so malicious, intentional, and reckless and displayed such reckless

               indifference to Plaintiff’s rights and well-being that the imposition of punitive

               damages is warranted.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory and

punitive damages against Defendants Warden Gregory Briggs and Prison Staff McClerg,

Ventura, Pecho, and John/Jane Doe 1 – 10, jointly and/or severally, in an amount sufficient

to fully and adequately compensate Plaintiff and deter the defendants and those similarly

situated, plus interest, costs, attorney’s fees, and all other appropriate relief.

                           COUNT VIII – 42 U.S.C. § 1983
                  SUPERVISORY LIABILITY—DENIAL OF MEDICAL CARE
               JOHNJUAN WHITE V. ALL INDIVIDUALLY NAMED DEFENDANTS

       95.     All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       96.     At all relevant times, Defendants Warden Gregory Briggs, CEO Thomas Weber,

               Esq., Corporate Medical Director Dr. Carl Hoffman; Prison Staff McClerg,

               Ventura, Pecho, and/or John/Jane Doe 1 – 10, as well as Medical Providers

               Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica Nye, Tiffany Long,

               Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla Zelders-Heichel,

               Adam Boerman, William Young, Garrett Rosas, Angela Barnett, Cheree
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      Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa,

      Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie Dietz,

      Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10 had for many years

      adopted and maintained a policy, custom, and/or practice of condoning and/or

      acquiescing to the violation of the constitutional rights of citizens, including, but

      not limited to, denying medical care to pretrial detainees and remaining

      deliberately indifferent to the serious medical needs of pretrial detainees, which

      policy, custom, and/or practice violates the Due Process Clause of the

      Fourteenth Amendment of the Constitution of the United States, the laws of the

      United States and of the Commonwealth of Pennsylvania, and in violation of 42

      U.S.C. § 1983.

97.   Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

      Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or

      John/Jane Doe 1 – 10, as well as Medical Providers Tykeisha Metz, Katelin

      Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

      Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

      Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

      Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

      Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and/or

      John/Jane Doe 1 – 10 had for many years and at all relevant times adopted and

      maintained a recognized and accepted policy, custom, and/or practice of

      systematically failing to adequately test, hire, train, supervise, and discipline

      prison staff and/or medical providers, including but not limited to the individually

      named defendants, regarding appropriate procedures for providing medical care
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      and/or diagnostic testing to pretrial detainees, which policy, custom, and/or

      practice violates the Due Process Clause of the Fourteenth Amendment of the

      Constitution of the United States, the laws of the United States and of the

      Commonwealth of Pennsylvania, and in violation of 42 U.S.C. § 1983.

98.   Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

      Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or

      John/Jane Doe 1 – 10, as well as Medical Providers Tykeisha Metz, Katelin

      Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

      Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

      Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

      Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

      Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and/or

      John/Jane Doe 1 – 10 have been deliberately indifferent to the rights of citizens to

      receive necessary medical care while imprisoned, which deliberate indifference

      violated Decedent’s rights under the Due Process Clause of the Fourteenth

      Amendment of the Constitution of the United States, the laws of the United States

      and of the Commonwealth of Pennsylvania, and in violation of 42 U.S.C. § 1983.

99.   Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

      Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or

      John/Jane Doe 1 – 10, as well as Medical Providers Tykeisha Metz, Katelin

      Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

      Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

      Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

      Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,
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       Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and/or

       John/Jane Doe 1 – 10 have knowingly adopted and maintained for many years

       recognized and accepted customs, policies, and/or practices within Dauphin

       County Prison that increase the risk of danger to inmates such as Decedent and

       that ultimately resulted in Decedent’s above-described injuries, including but

       not limited to:

       a. Failing to have and/or enforce appropriate medical care procedures, policies,

          and training to prevent prison staff and medical providers from denying

          inmates necessary medical care and/or diagnostic testing;

       b. Failing to have and/or enforce appropriate procedures, policies, and training

          to respond to information regarding medical needs of inmates;

       c. Failing to have and/or enforce adequate testing, hiring, training,

          supervision, and discipline to ensure prison staff act to prevent and/or

          intervene in prison staff and medical providers denying adequate care to

          inmates.

100.   Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

       Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or

       John/Jane Doe 1 – 10, as well as Medical Providers Tykeisha Metz, Katelin

       Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

       Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

       Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

       Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

       Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and/or

       John/Jane Doe 1 – 10 have been aware of the aforementioned customs, policies,
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       and/or practices for a substantial period of time and, despite said knowledge,

       were deliberately indifferent of the constitutional rights of citizens by failing to:

       a. Take steps to terminate them;

       b. Discipline or otherwise properly supervise the defendant prison staff and

          medical providers who engaged in them;

       c. Sanctioned them instead of effectively training the defendant prison staff

          and medical providers with regard to the proper constitutional and statutory

          duties owed to inmates in their custody and care.

101.   Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

       Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or

       John/Jane Doe 1 – 10, as well as Medical Providers Tykeisha Metz, Katelin

       Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

       Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

       Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

       Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

       Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and/or

       John/Jane Doe 1 – 10 effectively condoned, acquiesced to, participated in, and

       perpetrated the aforementioned customs, policies, and/or practices, in violation

       of Plaintiff’s rights under the Due Process Clause of the Fourteenth Amendment

       of the Constitution of the United States, the laws of the United States and of the

       Commonwealth of Pennsylvania, and in violation of 42 U.S.C. § 1983, by failing to

       take action to stop or limit to the aforementioned customs, policies, and/or

       practices, and/or by remaining deliberately indifferent to the systematic abuses
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       which occurred in accordance with and as a direct and proximate result of the

       same.

102.   These customs, policies, and/or practices are shown by the numerous accounts of

       inmates of Dauphin County Prison suffering denial of medical care, including but

       not limited to:

       a. Between 2009 and January of 2022, at least twenty-six (26) inmates died in

          Dauphin County Prison custody, including the highest rate of inmate deaths in

          all of Pennsylvania in 2019, prompting Defendant Dauphin County to hire an

          expert to audit Dauphin County Prison in 2021. Vendel, Christine, “Man Died

          in Dauphin County Prison, Marking the 5th Death in 10 Months”, PennLive,

          January 31, 2022, available at https://www.pennlive.com/news/2022/01/man-

          dies-in-dauphin-county-prison-marking-the-5th-death-in-10-months.html;

       b. The complaint of Riley, et al., v. Clark, et al., 4:20-cv-00325 (M.D. Pa.), in

          which Plaintiffs allege defendant prison staff used excessive force in repeatedly

          beating a pretrial detainee about the head and body and then offered no

          medical treatment for his injuries, ultimately causing his death, on June 18 –

          26, 2019.

103.   At all relevant times, and in addition and/or in the alternative to the above,

       Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq., Corporate

       Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or

       John/Jane Doe 1 – 10, as well as Medical Providers Tykeisha Metz, Katelin

       Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

       Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

       Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica
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       Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

       Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and/or

       John/Jane Doe 1 – 10, directed and/or knew of and acquiesced to the deprivations

       of Decedent’s rights described above

104.   As a direct and proximate result of the malicious, intentional, and reckless

       actions and failures to act of Defendants Warden Gregory Briggs, CEO Thomas

       Weber, Esq., Corporate Medical Director Dr. Carl Hoffman; Prison Staff

       McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10, as well as Medical Providers

       Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica Nye, Tiffany Long,

       Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla Zelders-Heichel,

       Adam Boerman, William Young, Garrett Rosas, Angela Barnett, Cheree

       Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa,

       Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie Dietz,

       Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10, Decedent suffered the

       injuries described above.

105.   The above-described acts and failures to act of Defendants Warden Gregory

       Briggs, CEO Thomas Weber, Esq., Corporate Medical Director Dr. Carl

       Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10, as

       well as Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica

       Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla

       Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela

       Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie,

       Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

       Stephanie Dietz, Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10, in their
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               individual capacities, were so malicious, intentional, and reckless and displayed

               such reckless indifference to Plaintiff’s rights and well-being that the imposition of

               punitive damages is warranted.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory and

punitive damages against Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq.,

Corporate Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and

John/Jane Doe 1 – 10; Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut,

Jessica Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla

Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela Barnett, Cheree

Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa, Mildred

Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S.,

Gina F., and John/Jane Doe 1 – 10, jointly and/or severally, in an amount sufficient to fully

and adequately compensate Plaintiff and deter the defendants and those similarly situated,

plus interest, costs, attorney’s fees, and all other appropriate relief.

                            COUNT IX – 42 U.S.C. § 1983
                                   CONSPIRACY
               JOHNJUAN WHITE V. ALL INDIVIDUALLY NAMED DEFENDANTS

       106.    All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       107.    As demonstrated by their continuous and concerted conduct, Defendants Warden

               Gregory Briggs, CEO Thomas Weber, Esq., Corporate Medical Director Dr. Carl

               Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10, as

               well as Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica

               Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla

               Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela
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             Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie,

             Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

             Stephanie Dietz, Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10 entered

             into an agreement and/or reached a meeting of the minds to violate Plaintiff’s

             constitutional rights in the ways described above.

      108.   The above-described acts and failures to act of Defendants Warden Gregory

             Briggs, CEO Thomas Weber, Esq., Corporate Medical Director Dr. Carl

             Hoffman; Prison Staff McClerg, Ventura, Pecho, and/or John/Jane Doe 1 – 10, as

             well as Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica

             Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla

             Zelders-Heichel, Adam Boerman, William Young, Garrett Rosas, Angela

             Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie,

             Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

             Stephanie Dietz, Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10, in their

             individual capacities, were so malicious, intentional, and reckless and displayed

             such reckless indifference to Plaintiff’s rights and well-being that the imposition of

             punitive damages is warranted.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands compensatory and

punitive damages against Defendants Warden Gregory Briggs, CEO Thomas Weber, Esq.,

Corporate Medical Director Dr. Carl Hoffman; Prison Staff McClerg, Ventura, Pecho, and

John/Jane Doe 1 – 10; Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica

Nye, Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla Zelders-Heichel,

Adam Boerman, William Young, Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna

Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,
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Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and John/Jane Doe 1 –

10, jointly and/or severally, in an amount sufficient to fully and adequately compensate Plaintiff

and deter the defendants and those similarly situated, plus interest, costs, attorney’s fees, and all

other appropriate relief.

                   COUNT X – PENNSYLVANIA COMMON LAW
                           ASSAULT AND BATTERY
JOHNJUAN WHITE V. PRISON STAFF MCCLERG, VENTURA, PECHO, AND JOHN/JANE DOE
                                  1 – 10

       109.    All of the preceding paragraphs are incorporated by reference as if fully set forth

               herein.

       110.    The above-described actions of Defendants Prison Staff McClerg, Ventura, Pecho,

               and/or John/Jane Doe 1 – 10 constituted an unnecessary and excessive use of force to

               carry out Defendants’ law enforcement and/or correctional duties.

       111.    The above-described actions of Defendants Prison Staff McClerg, Ventura,

               Pecho, and John/Jane Doe 1 – 10 put Decedent in reasonable fear of imminent

               bodily harm and resulted in him being unlawfully and improperly touched,

               assaulted, battered, and abused against his will.

       112.    The above-described actions were so malicious, intentional, gross, wanton, and

               reckless and displayed such a reckless indifference to Decedent’s rights and

               well-being that the imposition of punitive damages is warranted.

WHEREFORE, pursuant to Pennsylvania common law, Plaintiff demands compensatory and

punitive damages against Defendants Prison Staff McClerg, Ventura, Pecho, and John/Jane

Doe 1 – 10, jointly and/or severally, in an amount sufficient to fully and adequately

compensate Plaintiff and punish and deter the defendant and those similarly situated, plus

interest, costs, attorney’s fees, and all other appropriate relief.

                            COUNT XI – PENNSYLVANIA COMMON LAW
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           NEGLIGENCE, GROSS NEGLIGENCE, AND VICARIOUS LIABILITY
JOHNJUAN WHITE V. PRIMECARE MEDICAL, INC., CEO THOMAS WEBER, ESQ., CORPORATE
  MEDICAL DIRECTOR DR. CARL HOFFMAN, AND MEDICAL PROVIDERS TYKEISHA METZ,
  KATELIN WRIGHT, JOSEPH MACUT, JESSICA NYE, TIFFANY LONG, ADDONNA THOMAS,
SHAYNE GOODMAN, TIFFANY LONG, KAYLA ZELDERS-HEICHEL, ADAM BOERMAN, WILLIAM
  YOUNG, GARRETT ROSAS, ANGELA BARNETT, CHEREE SULTZBACH, JOHANNA RIEDEL,
JESSICA GLASPER, SHARON CHRISTIE, MELISSA BARBOSA, MILDRED MONTALVO, DOUGLAS
 EASH, SUSAN DELOE, TIA DRABICH, STEPHANIE DIETZ, TRACY P., KATIE S., GINA F., AND
                              JOHN/JANE DOE 1 – 10

     113.   All of the preceding paragraphs are incorporated by reference as if fully set

            forth herein.

     114.   The negligence, gross negligence, and/or carelessness of Defendants CEO

            Thomas Weber, Esq., Corporate Medical Director Dr. Carl Hoffman, as well as

            Medical Providers Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica Nye,

            Tiffany Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla Zelders-

            Heichel, Adam Boerman, William Young, Garrett Rosas, Angela Barnett,

            Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa

            Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie

            Dietz, Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10; includes but is

            not limited to:

            a. Failure to recommend appropriate diagnostic testing and/or treatment for

               Decedent’s repeated head injuries;

            b. Failure to recognize the significance of the patient’s ongoing and worsening

               symptoms of headache, difficulty sleeping, difficulty breathing, high blood

               pressure, and chest pain;

            c. Failure to properly monitor the Decedent;

            d. Failure to attempt to rule out subdural hematoma;

            e. Failure follow known and appropriate medical standards of care with regard

               to repeated head injuries and Decedent’s symptoms;
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       f.   Failure to recognize the Decedent’s condition was failing to improve and/or

            was worsening;

       g. Failure to properly treat the Decedent’s traumatic brain injuries;

       h. Failure to notice the signs and symptoms of traumatic brain injury; and

       i.   Failure to adequately and appropriately evaluate the Decedent’s clinical

            symptoms;

115.   Defendants PrimeCare Medical, Inc., CEO Thomas Weber, Esq., Corporate

       Medical Director Dr. Carl Hoffman, as well as Medical Providers Tykeisha Metz,

       Katelin Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas,

       Shayne Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman,

       William Young, Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna

       Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo,

       Douglas Eash, Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S.,

       Gina F., and/or John/Jane Doe 1 – 10, individually and acting through their

       authorized agents, ostensible agents, servants, workman and employees

       undertook and/or assumed a duty to render reasonable, proper, adequate and

       appropriate medical care to Plaintiff’s Decedent and to protect him from harm

       and avoid harm, and these Defendants breached said duty as set forth herein.

116.   Plaintiff and Plaintiff’s Decedent relied upon the knowledge skill, treatment,

       and advice of these Defendants.

117.   The negligence, gross negligence, and/or carelessness of these Defendants as set

       forth herein caused harm, increased the harm, and was a substantial factor in

       causing the injuries and wrongful death of the Plaintiff’s Decedent.

118.   Defendant PrimeCare Medical, Inc., is liable for the negligent and/or grossly

       negligent conduct of Defendants CEO Thomas Weber, Esq., Corporate Medical
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              Director Dr. Carl Hoffman, as well as Medical Providers Tykeisha Metz, Katelin

              Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

              Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young,

              Garrett Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica

              Glasper, Sharon Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash,

              Susan Deloe, Tia Drabich, Stephanie Dietz, Tracy P., Katie S., Gina F., and/or

              John/Jane Doe 1 – 10, pursuant to the principles of agency, ostensible agency,

              vicarious liability and/or respondeat superior.

       119.   Accordingly, the negligence and/or gross negligence of Defendants CEO Thomas

              Weber, Esq., Corporate Medical Director Dr. Carl Hoffman, as well as Medical

              Providers Tykeisha Metz, Katelin Wright, Joseph Macut, Jessica Nye, Tiffany

              Long, Addonna Thomas, Shayne Goodman, Tiffany Long, Kayla Zelders-Heichel,

              Adam Boerman, William Young, Garrett Rosas, Angela Barnett, Cheree

              Sultzbach, Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa,

              Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie Dietz,

              Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10 is imputed to the

              Defendants set forth in the paragraph.

WHEREFORE, pursuant to Pennsylvania common law, Plaintiff demands compensatory

and punitive damages against Defendants PrimeCare Medical, Inc., CEO Thomas Weber,

Esq., Corporate Medical Director Dr. Carl Hoffman; Medical Providers Tykeisha Metz,

Katelin Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett

Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon

Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

Stephanie Dietz, Tracy P., Katie S., Gina F., and John/Jane Doe 1 – 10, jointly and/or
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severally, in an amount sufficient to fully and adequately compensate Plaintiff and punish

and deter the defendant and those similarly situated, plus interest, costs, attorney’s fees,

and all other appropriate relief.

                       COUNT XII – PENNSYLVANIA COMMON LAW
                    CORPORATE NEGLIGENCE AND GROSS NEGLIGENCE
                     JOHNJUAN WHITE V. PRIMECARE MEDICAL, INC.

       120.   All of the preceding paragraphs are incorporated by reference as if fully set

              forth herein.

       121.   The direct corporate negligence, gross negligence, and carelessness of

              Defendant PrimeCare Medical, Inc., includes but is not limited to:

              a. Failure to properly train its employees, agents, and ostensible agents on

                  the proper method for assessing and treating head injuries;

              b. Failure to properly train its employees, agents, and ostensible agents to

                  recognize the signs and symptoms of traumatic brain injury;

              c. Failure to oversee Defendants Medical Providers Tykeisha Metz, Katelin

                  Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas,

                  Shayne Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman,

                  William Young, Garrett Rosas, Angela Barnett, Cheree Sultzbach,

                  Johanna Riedel, Jessica Glasper, Sharon Christie, Melissa Barbosa,

                  Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich, Stephanie

                  Dietz, Tracy P., Katie S., Gina F., and/or John/Jane Doe 1 – 10 in their

                  assessment and treatment of Decedent’s head injuries;

              d. Failure to adopt, formulate, and/or enforce adequate rules, policies, and/or

                  procedures to recognize the signs and symptoms of patients suffering from

                  traumatic brain injury;
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              e. Failure to competently oversee evaluation, treatment, and/or diagnostic

                   testing of patients suffering from traumatic brain injury;

              f.   Failure to select and train competent medical providers in the evaluation

                   and treatment of head injuries; and

              g. Establishing improper and incomplete policies regarding evaluation,

                   treatment, and/or diagnostic testing of inmates who suffer head injuries

                   at the hands of other inmates or prison staff.

       122.   Defendant PrimeCare Medical, Inc., had actual and/or constructive

              knowledge of the above acts and omissions which caused harm, increased

              harm, and were substantial factors in causing the injuries and wrongful

              death of Decedent.

       123.   The direct corporate negligence, gross negligence, and/or carelessness of

              Defendant PrimeCare Medical, Inc., as described above, caused harm,

              increased the harm, and was a substantial factor in causing the injuries and

              wrongful death of Decedent.

WHEREFORE, pursuant to Pennsylvania common law, Plaintiff demands compensatory

damages against Defendant PrimeCare Medical, Inc., in an amount sufficient to fully and

adequately compensate Plaintiff, plus interest, costs, attorney’s fees, and all other

appropriate relief.

                              COUNT IX – 42 PA. C.S. § 8301
                                  WRONGFUL DEATH
                           JOHNJUAN WHITE V. ALL DEFENDANTS

       124.   All of the preceding paragraphs are incorporated by reference as if fully set

              forth herein.
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      125.   Plaintiff brings this action pursuant to the Wrongful Death Act, 42 Pa. C.S.

             § 8301 and claims all damages recoverable under the Pennsylvania Wrongful

             Death Act.

      126.   As a direct and proximate result of the above-described actions and omissions

             of the defendants, Decedent, his family, his minor son J.B.K., and his estate

             have suffered severe pecuniary losses and damages, including the following:

             a. Funeral, burial, and estate administration expenses;

             b. An amount that will fairly and adequately compensate the family

                members of the decedent for their loss of such contributions as they would

                have received between the time of the death of the decedent and today,

                including all monies that the decedent would have spent for or given to

                his family;

             c. An amount that will fairly and adequately compensate his family for the

                loss of such contributions as the decedent would have contributed to the

                support of his family between today and the end of his normal life

                expectancy; and

             d. An amount which will fairly and adequately compensate his family for the

                pecuniary and emotional value of the services, society and comfort that he

                would have given to his family had he lived including such elements as

                provision of physical comfort and services and provision of society and

                comfort.

WHEREFORE, pursuant to 42 Pa. C.S. § 8301, Plaintiff demands compensatory damages

against Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory Briggs,

CEO Thomas Weber, Esq., Corporate Medical Director Dr. Carl Hoffman; Prison Staff

McClerg, Ventura, Pecho, and John/Jane Doe 1 – 10; Medical Providers Tykeisha Metz,
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Katelin Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett

Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon

Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

Stephanie Dietz, Tracy P., Katie S., Gina F., and John/Jane Doe 1 – 10 in an amount

sufficient to fully and adequately compensate Plaintiff, plus interest, costs, attorney’s fees,

and all other appropriate relief.

                              COUNT IX – 42 PA. C.S. § 8302
                                  SURVIVOR ACTION
                           JOHNJUAN WHITE V. ALL DEFENDANTS

       127.   All of the preceding paragraphs are incorporated by reference as if fully set

              forth herein.

       128.   Plaintiff brings this action on behalf of the Estate of Jimmy King, deceased,

              by virtue of the Pennsylvania Survival Act, 42 Pa. C.S. § 8302, and claims all

              benefits of the Survival Act on behalf of Jimmy King’s estate and other

              persons entitled to recover under law.

       129.   As a direct and proximate result of Defendants’ wrongdoing, as set forth

              above, Plaintiff claims on behalf of the Estate of Jimmy King all damages

              suffered by the Estate by reason of the death of Jimmy King, including:

              a. The severe injuries to Decedent, which resulted in his death;

              b. The anxiety, horror, fear of impending death, mental disturbance, pain,

                  suffering and other intangible losses which Decedent suffered prior to his

                  death;

              c. The loss of past, present, and future earning capacity suffered by

                  Decedent, from the date of his death until the time in the future he would

                  have lived had he not died as a result of the injuries he sustained;
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              d. Expenses for medical care;

              e. The loss and total limitation and deprivation of his normal activities,

                  enjoyment of life, pursuits, and life’s pleasures from the date of his death

                  until such time in the future as he would have lived had he not died as a

                  result of the injuries sustained.

WHEREFORE, pursuant to 42 Pa. C.S. § 8302, Plaintiff demands compensatory damages

against Defendants Dauphin County, PrimeCare Medical, Inc., Warden Gregory Briggs,

CEO Thomas Weber, Esq., Corporate Medical Director Dr. Carl Hoffman; Prison Staff

McClerg, Ventura, Pecho, and John/Jane Doe 1 – 10; Medical Providers Tykeisha Metz,

Katelin Wright, Joseph Macut, Jessica Nye, Tiffany Long, Addonna Thomas, Shayne

Goodman, Tiffany Long, Kayla Zelders-Heichel, Adam Boerman, William Young, Garrett

Rosas, Angela Barnett, Cheree Sultzbach, Johanna Riedel, Jessica Glasper, Sharon

Christie, Melissa Barbosa, Mildred Montalvo, Douglas Eash, Susan Deloe, Tia Drabich,

Stephanie Dietz, Tracy P., Katie S., Gina F., and John/Jane Doe 1 – 10 in an amount

sufficient to fully and adequately compensate Plaintiff, plus interest, costs, attorney’s fees,

and all other appropriate relief




                                            ABRAMSON & DENENBERG, P.C.



                                        BY:   /s/ Alan Denenberg
                                            ALAN E. DENENBERG, ESQ.


                                            THE CHAVEZ-FREED LAW OFFICE


                                        BY: /s/ Leticia C. Chavez-Freed
                                           LETICIA C. CHAVEZ-FREED, ESQ.
